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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES,

      v.                                              Criminal Action No. 1:21-cr-00189 (CJN)

RICHARD L. HARRIS,

               Defendant.


                                    SCHEDULING ORDER

       Trial is set to begin in this matter on June 12, 2023, at 9:00 a.m. in Courtroom 19. Jury

selection will begin that day at 9:00 a.m. The following deadlines shall govern pretrial

proceedings:

       1.      The Parties shall file any motions to dismiss the indictment or other motions to

               exclude evidence by April 7, 2023. Oppositions to any such motion shall be filed

               by April 28, 2023. Any reply shall be filed by May 12, 2023.

       2.      The Parties shall file any pretrial motions (including motions in limine) by May

               15, 2023. Oppositions to pretrial motions (including motions in limine) shall be

               filed by May 25, 2023. Any reply shall be filed by June 1, 2023.

       3.      The United States shall notify Defendant of its intention to introduce any Rule

               404(b) evidence not already disclosed on or before June 2, 2023.

       4.      Before filing a motion, the Parties shall meet and confer to discuss whether any

               issues presented by the motion can be resolved by agreement of the Parties.

       5.      The United States should endeavor to make grand jury and Jencks Act disclosures

               as to each witness it expects to call in its case-in-chief on or before June 2, 2023.

               Any Brady material not already disclosed also must be disclosed by this date.


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6.      The Parties shall also file with the Court, no later than June 5, 2023, a Joint

        Pretrial Statement that contains:

           a. A neutral statement of the case: The Parties shall include a neutral

               statement of the case for the Court to read to prospective jurors.

           b. Proposed voir dire questions: The Parties shall indicate –

                    i. the voir dire questions that the parties agree to; and

                   ii. the voir dire questions that the parties disagree on, with specific

                       objections noted as to each disputed question.

           c. Proposed jury instructions: The Parties shall submit a list of proposed jury

               instructions, followed by the text of each proposed instruction, that

               indicates:

                    i. the instructions that the parties agree to; and

                   ii. the instructions that the parties disagree to, with specific objections

                       noted below each disputed instruction, and the proposed

                       instruction’s source (e.g., the Red Book, Matthew Bender’s

                       Federal Jury Instructions) or, for modified or new instructions,

                       supporting legal authority (e.g., Joy v. Bell Helicopter Textron,

                       Inv., 999 F.2d 549, 556 (D.C. Cir. 1993)).

               Proposed instructions may be updated as needed to reflect the evidence

               presented at trial. Absent a showing of good cause, no other modifications

               will be permitted.




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      d. List of witnesses: The Parties shall identify the witnesses that each side

          anticipates it may call in its case-in-chief, divided into the following

          categories:

              i. witnesses who will be called to testify at trial;

             ii. witnesses who may be called to testify at trial; and

             iii. witnesses whose testimony a party will present by deposition or

                  other prior testimony, indicating whether the presentation will be

                  by transcript or video.

                  The Court will read the list of witnesses to the jury during voir

                  dire. In the list, each witness name should be accompanied by a

                  brief description of each witness’s expected testimony and area of

                  expertise, if applicable, followed by specific objections, if any, to

                  each witness.

      e. Exhibit lists: The Parties shall include a list of trial exhibits (including

          demonstratives, summaries, or other specifically prepared exhibits), which

          includes:

              1. the exhibit number for each document;

              2. the date of the document;

              3. a brief description of the document;

              4. a concise statement of the asserted basis of admissibility; and

              5. whether there is an objection to admission of the document and, if

                so, a concise statement of the basis for the objections.




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                   The list, together with numbered premarked copies of the exhibits, should be

                   submitted to the Court in a separate binder.

                   f. Stipulations: The Parties shall submit a draft of all stipulations.

                   g. Proposed verdict form: The Parties shall include a draft verdict form,

                      including any proposed special interrogatories. The draft verdict form

                      should include a date and signature line for the jury foreperson.

           7. The Court will schedule hearings on any motions filed by the Parties as necessary.

           8. Counsel shall appear on June 8, 2023, at 12:30 PM for a pretrial conference in

               Courtroom 19.

The parties must submit to Chambers a printed copy of the Joint Pretrial Statement tabbed and in

a three-ring binder. The parties must submit an electronic copy of all proposed voir dire

questions, jury instructions, and verdict forms in Word format by emailing them to Chambers at

Nichols_Chambers@dcd.uscourts.gov. The jury instructions section must be formatted so that

each individual jury instruction begins on a new page.

       Failure to comply with this Order will be deemed a waiver of all objections to matters

covered by this Order.



It is so ORDERED.


DATE: March 2, 2023
                                                              CARL J. NICHOLS
                                                              United States District Judge




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